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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


    WAZEE STREET OPPORTUNITIES FUND
    IV LP, et al.,
                                                          No. 18-1124C
                Plaintiffs,                               (Chief Judge Sweeney)

         v.

    THE UNITED STATES,

                Defendant.


                                  JOINT STATUS REPORT

        Pursuant to the Court’s order dated January 27, 2020 (ECF No. 11), the parties jointly

report as follows:

        1.     Pending before this Court are a number of actions concerning amendments to

Senior Preferred Stock Purchase Agreements between the United States Department of the

Treasury, on the one hand, and the Federal National Mortgage Association (known as Fannie Mae)

and the Federal Home Loan Mortgage Corporation (known as Freddie Mac), each by the Federal

Housing Finance Agency as Conservator, on the other. These actions include Fairholme Funds,

Inc. v. United States, No. 13-465C (“Fairholme Funds”), and eleven actions scheduled in tandem

with it for purposes of the Government’s omnibus motion to dismiss (the “Related Actions”).1

        2.     In the above-captioned case, filed on August 1, 2018, Plaintiffs pled claims against

the United States arising out of the facts at issue in Fairholme Funds and the Related Actions.


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 Washington Federal v. United States, No. 13-385C; CRS Master v. United States, No. 18-1155C;
Fisher v. United States, No. 13-608C; Arrowood Indem. Co. v. United States, No. 13-698C; Reid
v. United States, No. 14-152C; Rafter v. United States, No. 14-740C; Owl Creek Asia I, L.P. v.
United States, No. 18-281C; Akanthos Opportunity Master Fund, L.P. v. United States, No.
18-369C; Appaloosa Inv. Ltd. P’ship I v. United States, No. 18-370C; CSS, LLC v. United States,
No. 18-371C; and Mason Capital L.P. v. United States, No. 18-529C.
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       3.      On August 29, 2018, 2018, due to the similarities between the above-captioned

case, on the one hand, and Fairholme Funds and the Related Actions, on the other, the parties to

the above-captioned case filed a Joint Motion for Stay of Proceedings. ECF No. 7.

       4.      On August 30, 2018, the Court granted the parties’ joint motion, staying

proceedings in the above-captioned action. ECF No. 8. The Court further directed the parties to

“file a joint status report suggesting further proceedings by no later than fourteen days after the

court issues a decision on defendant’s motion to dismiss in Fairholme Funds.” Id.

       5.      In an Opinion and Order dated December 6, 2019 (the “December 6 Opinion”), the

Court granted in part and denied in part the Government’s motion to dismiss Fairholme Funds.

       6.      On December 20, 2019, the parties jointly moved for additional time, to and

including February 10, 2020, to confer regarding further proceedings. The Court granted the

parties’ motion on December 26, 2019.

       7.      On January 27, 2020, the Court ordered the parties to file a joint status report by 21

days after the joint status report was filed in Fairholme Funds. That report was filed on February

7, 2020.

       Defendant’s Position

       8.      To promote judicial efficiency, the United States proposes that the Court continue

its stay of the above-captioned case until the entries of final judgments in Fairholme Funds and

the Related Actions and exhaustion of all appeals in those actions. Plaintiffs’ position – that the

stay be lifted so that their derivative claims can proceed while the Fairholme Funds parties are

requesting an interlocutory appeal that would, if accepted, require the Federal Circuit to decide

whether shareholders have standing to bring derivative claims in the first place – would not

promote judicial economy and would instead lead to the potentially unnecessary expenditure of




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resources to this case before a final determination has even been made on the Court’s jurisdiction.

Continuation of the stay, thus, better comports with the Court’s expressed view that an

interlocutory review is the “logical next step[]” in the Third Amendment litigation.

       Plaintiffs’ Position

       9.      The Wazee Plaintiffs in the above-captioned case believe that there is no longer a

need to continue the stay of this action. The motion to dismiss in the Fairholme Funds case has

been ruled on by this Court and will likely proceed to the Federal Circuit for appeal. The stay in

this case should be lifted so the Government can respond to the Complaint (ECF No. 1). The

Wazee Plaintiffs have asserted derivative claims which can plainly proceed under the Court’s

decision in Fairholme Funds, and, accordingly, the Government should now be forced to respond

to all of the Wazee Plaintiffs’ claims.




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Dated: February 28, 2020                     Respectfully submitted,

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